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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

JORDAN BOCAGE, et al.,     )
                           )
    Plaintiffs,            )
                           )
v.                         )                  CIVIL ACTION NO.:
                           )                  2:17-cv-1201-RDP
ACTON CORPORATION, et al., )
                           )
    Defendants.            )


    PLAINTIFF BOCAGE’S RESPONSE TO IM RECORDS, INC.’S
 MOTION TO REFER MS. BOCAGE’S CLAIM TO ARBITRATION AND
DISMISS OR STAY PENDING ARBITRATION AND BRIEF IN SUPPORT


   Plaintiff Jordan Bocage (hereinafter “Bocage”), along with the other Plaintiffs,

hereby respectfully request that this Honorable Court deny IM Records, Inc.’s

(hereinafter “IM Records”) Motion to Refer Ms. Bocage’s Claim to Arbitration

and Dismiss or Stay Pending Arbitration and Brief in Support (hereinafter

“Motion”). The basis for IM Records’ Motion is an invalid and unenforceable

arbitration clause. Furthermore, even assuming arguendo that said arbitration

provision is valid, IM Records has waived enforcement by significantly invoking

the litigation process.
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   For these reasons, as set forth more completely in the below memorandum of

law, Plaintiffs respectfully request that this Honorable Court summarily dismiss IM

Records’ Motion.

   I.      BACKGROUND

        Plaintiffs filed their putative class action against IM Records and others on

July 9, 2017. On August 17, 2017, Plaintiffs filed their proof of service of

summons upon IM Records (Doc. # 4).

        On October 11, 2017, IM Records filed their Motion to Dismiss Or, In the

Alternative, To Strike the Class Definition (Doc. # 13), and a supporting brief

(Doc. # 14). At the time of the filing, IM Records was privy to the one-page

invoice which is the basis for its Motion seeking arbitration. As an exhibit to its

Motion to Dismiss, IM Records also attached a true and correct copy of the invoice

at issue in this Motion (Doc. # 13-1).

        IM Records filed its Motion to Temporarily Stay Discovery and the Rule

26(f) Requirements of the Federal and Local Rules on October 24, 2017 (Doc. #

20).

        In response to Plaintiffs’ Response in opposition, IM Records then filed IM

Records, Inc.’s Reply in Further Support of Its Motion to Dismiss and Alternative

Motion to Strike the Class Definition on November 8, 2017 (Doc. # 33).




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          On December 14, 2017, after utilizing this Court’s time, and after more than

four months of litigating this matter, Defendant IM Records filed said Motion

seeking to compel arbitration on the very day that all parties presented oral

argument based upon Defendant IM Records’ and Defendant Acton Corporation’s

motions to dismiss.

    II.      LAW & ARGUMENT

             a. THE ARBITRATION PROVISION IS NOT ENFORCEABLE
                AS IT LACKS CONSIDERATION

    “The federal policy favoring arbitration is not … the same as applying a

presumption of arbitrability. We only apply the presumption of arbitrability to the

interpretation of contracts if we have already determined that, under state law, the

parties formed a valid agreement to arbitrate.” Dasher v. RBC Bank (USA), 745

F.3d 1111, 1116 n.5 (11th Cir. 2014); citing Granite Rock Co. v. Int'l Bhd. of

Teamsters, 561 U.S. 287, 300, 130 S. Ct. 2847, 2857-2857-581 (2010).

          The FAA requires courts to “place arbitration agreements on an equal

footing with other contracts and enforce them according to their terms." AT&T

Mobility LLC v. Concepcion, 563 U.S. 333, 339, 131 S. Ct. 1740, 1745-46


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 “[C]ourts should order arbitration of a dispute only where the court is satisfied that neither the formation
of the parties' arbitration agreement nor . . . its enforceability or applicability to the dispute is in issue. . . .
That . . . some of our cases applying a presumption of arbitrability to certain disputes do not discuss each
of these requirements merely reflects the fact that in those cases some of the requirements were so
obviously satisfied that no discussion was needed.”



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(2011). (citations omitted). Section 2 of the FAA “permits agreements to arbitrate

to be invalidated by ‘generally applicable contract defenses.’” Concepcion, supra,

563 U.S. at 339 , 131 S. Ct. at 1746, 179 L. Ed. 2d at 751 (emphasis added)

(quoting Doctor's Assocs., Inc. v. Casarotto, 517 U.S. 681, 687, 116 S. Ct. 1652,

1656, 134 L. Ed. 2d 902, 909 (1996)).

      Accordingly, Courts generally should apply state law principles governing

formation of contracts. Chambers v. Groome Transp. of Ala., 41 F. Supp. 3d 1327,

1342-43 (M.D. Ala. 2014). Under Alabama law, IM Records, as the party

advocating    arbitration,   has   the   burden    of    showing      the   existence   of

a contract. Owens v. Coosa Valley Health Care, Inc., 890 So. 2d 983, 986 (Ala.

2004).

      The presumption in favor of arbitration in this matter is not applicable

because the arbitration provision is not enforceable based on black letter Alabama

contractual principles, and the specific facts of this case.

      “The basic elements of a contract are an offer and an acceptance,

consideration,    and    mutual     assent    to   the    essential     terms    of     the

agreement.” Merchants Bank v. Head, 161 So. 3d 1151, 1155, 2014 Ala. LEXIS

78, 2014 WL 2242474, at *4 (Ala. May [*1343] 30, 2014) (citation and internal

quotation marks omitted).

      As noted repeatedly by the Alabama Supreme Court:

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      ““A test of good consideration for a contract is whether the
      promisee at the instance of the promisor has done, forborne or
      undertaken to do anything real, or whether he has suffered any
      detriment, or whether in return for the promise he has
      done something he was not bound to do, or has promised to do some
      act or to abstain from doing something.”

      “‘Roberts v. Lindsey, 242 Ala. 522, 525, 7 So. 2d 82, 84
      (1942); Russell v. Russell, 270 Ala. 662, 668, 120 So. 2d 733, 738
      (1960). “[T]o constitute consideration for a promise, there must have
      been an act, a forbearance, a detriment, or a destruction of a legal
      right, or a return promise, bargained for and given in exchange for
      the promise.” Smoyer v. Birmingham Area Chamber of Commerce,
      517 So. 2d 585, 587 (Ala. 1987).’”

      Southland Bank v. A & A Drywall Supply Co., No. 1060204, 2008
      Ala. LEXIS 261, at *17-18 (Dec. 12, 2008).

      Pursuant to federal law, Defendant IM Records had a pre-existing duty to

provide medical requests upon the request of Plaintiff Bocage, subject to fees

authorized and limited by HIPAA, and purportedly authorized by 12-21-6.1 of the

Alabama Code, 1975. As Plaintiff Bocage had a pre-existing right to the records

for a cost-based fee, Plaintiff Bocage did not receive something from the alleged

agreement to arbitrate that Plaintiff was not already entitled to receive. As such, the

arbitration provision is illusory, and there is no consideration that Defendant IM

Records can establish to support enforcement of the purported arbitration

provision.

      For these reasons, Plaintiffs respectfully request that Defendant IM Records’

Motion be summarily denied.

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          b. THE ARBITRATION PROVISION IS UNCONSCIONABLE
             AND CONTRARY TO LAW

   Section 7-2-302 of the Alabama Code, 1975 provides in relevant part:

      (1) If the court as a matter of law finds the contract or any clause of
      the contract to have been unconscionable at the time it was made the
      court may refuse to enforce the contract, or it may enforce the
      remainder of the contract without the unconscionable clause, or it may
      so limit the application of any unconscionable clause as to avoid
      any unconscionable result.

   In determining whether an arbitration clause is unconscionable, Alabama courts

utilize four factors: (1) whether there is an absence of meaningful choice on one

party's part; (2) whether the contractual terms are unreasonably favorable to one

party; (3) whether there was unequal bargaining power among the parties; and (4)

whether there were oppressive, one-sided, or unfair terms in the contract. Rollins,

Inc. v. Foster, 991 F. Supp. 1426, 1434 (M.D.Ala. 1998); Knepp v. Credit

Acceptance Corp. (In re Knepp), 229 B.R. 821, 837 (Bankr. N.D. Ala. 1999). As

noted by the Court in Knepp, this Court is limited to determining whether

the arbitration clause is unconscionable. Id. at 1435.

   There was no meaningful choice on Plaintiff’s part, through her attorney. In

effect, the purported arbitration provision required that Plaintiff object to the

arbitration provision’s existence prior to receiving medical records to which she

was entitled. The choice then became – accept the arbitration provision or have

said records be subject to an inevitable delay of unknown duration.

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   Secondly, said terms are only favorable to IM Records. Plaintiff Bocage was

entitled to her medical records for a cost-based fee by both federal and state

statutes. Said provision only benefits IM Records and is unreasonably favorable to

IM Records.

   Finally, the arbitration provision is oppressive, one-sided, and unfair. Plaintiff

Bocage’s case is based on IM Records’ violation of Alabama state law by

fraudulently representing that they are entitled to search and retrieval fees, when

they are prohibited from retrieving said fees by federal statute. Similarly, IM

Records has violated Alabama state law by fraudulently representing that Plaintiff

Bocage is to be bound by a purported arbitration provision, or, at best, that Plaintiff

Bocage’s right to retrieve her medical records can be delayed by objecting to said

arbitration provision. It is clear that the purported arbitration provision’s existence

is as an additional barrier to Plaintiff’s ability to retrieve her own medical records,

to which she is clearly legally entitled under federal and state law. As such, the

provision is oppressive, one-sided, and unfair, and enforcement of the provision

would be unconscionable.

      For these reasons, Plaintiffs respectfully request that Defendant IM Records’

Motion be summarily denied.



   III.    IM  RECORDS   WAIVED    ENFORCEMENT                            OF     ANY
           PURPORTED ARBITRATION AGREEMENT
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       IM Records has waived any purported right to arbitration by its conduct in

this litigation.

       As provided by the Eleventh Circuit:

       “[D]espite the strong policy in favor of arbitration, a party may, by its
       conduct, waive its right to arbitration,” S & H Contractors, Inc. v. A.J.
       Taft Coal Co., 906 F.2d 1507, 1514 (11th Cir. 1990) (citation
       omitted), and we apply a two-part test to determine that issue. “First,
       we decide if, under the totality of the circumstances, the party has
       acted inconsistently with the arbitration right.” Ivax Corp. v. B. Braun
       of Am., Inc., 286 F.3d 1309, 1315-16 (11th Cir. 2002)(internal
       quotation marks omitted). A party acts inconsistently with the
       arbitration right when the party “substantially invokes the litigation
       machinery prior to demanding arbitration.” S & H Contractors, 906
       F.2d at 1514 (internal quotation marks and alterations
       omitted). “[S]econd, we look to see whether, by [acting inconsistently
       with the arbitration right], that party has in some way prejudiced the
       other party.” Ivax Corp., 286 F.3d at 1316(internal quotation marks
       omitted). To determine whether the other party has been prejudiced,
       “we may consider the length of delay in demanding arbitration and the
       expense incurred by that party from participating in the litigation
       process.” S & H Contractors, 906 F.2d at 1514.

       Garcia v. Wachovia Corp., 699 F.3d 1273, 1277 (11th Cir. 2012).

       In the event that this Honorable court determines that IM Records has a right

to arbitration, IM Records has waived said right by substantially invoking the

litigation machinery prior to demanding arbitration.

       IM Records substantially invoked the litigation process for five (5) months

by (1) filing a Motion to Dismiss and Supporting Brief; (2) filing a rebuttal brief in

support of their Motion to Dismiss; (3) filing a Motion for relief from the Rule 26

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requirements; and (4) by appearing before this Honorable Court on December 14,

2017, and actively arguing the merits of IM Records’ Motion to Dismiss. IM

Records did not mention the word arbitration to this Court or to opposing counsel

until December 14, 2017, although this case was filed in July of 2017. As such, IM

Records has acted inconsistently with the purported arbitration right.

       Plaintiff Bocage has been prejudiced. As noted above and in the record,

Plaintiff Bocage has been actively engaged in this litigation, through counsel, and

has participated extensively in motion practice and in contesting Defendant IM

Records’ Motion to Dismiss. For five (5) months the parties have actively

participated in litigation, and Plaintiff Bocage would be prejudiced by being forced

to participate in arbitration at this late stage.

       For these reasons, Plaintiffs respectfully request that Defendant IM Records’

Motion be summarily denied.

   IV.    CONCLUSION

   Defendant IM Records seeks to enforce an arbitration provision that was not

procured with consideration, that is unconscionable, and that goes to the core of

Plaintiff Bocage’s Complaint. Even assuming that said arbitration provision is

enforceable, Defendant IM Records has waived the ability to enforce said

provision due Defendant’s own conduct in this litigation. For all of these reasons,




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Plaintiff Bocage respectfully requests that this Honorable Court deny Defendant

IM Records attempt to compel arbitration.

                               Respectfully Submitted,

                               /s/ Diandra S. Debrosse Zimmermann
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                       CERTIFICATE OF SERVICE

       I hereby certify that on this the 4th day of January, 2018, I have
electronically filed the foregoing through the CM/ECF electronic filing system,
which will automatically provide notice to all attorneys of record.

                                    /s/ Cameron L. Hogan
                                    OF COUNSEL




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